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UNITED STATES DISTRICT COURT FILED
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION NOV 27 2024

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NORTHERN DISTRICT OF OHWO
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ra nae-michelle :ulrich Case No. 1:22-cv-01848

Plaintiff,
V. JUDGE DAVID A. RUIZ
FORD MOTOR COMPANY, et al.,

Defendants.

CORRECTION OF THE RECORD

On September 27, 2024 David Ruiz unlawfully & unconstitutionally dismissed this case.

Correction:

The United States of America, INC., David Ruiz and the D.O.D. ------ ADJOURNED

SINE DIE on September 27, 2024.

To begin to comply with transition to The Kingdom of America, a Union of the

independent states.
In the words of independent state Viriginia’s motto: “Sic Semper Tyrannis”’!
On behalf of the United States Marines Corp, “Sic Semper Fidelis”!

The military belongs to “us”. Because it is “us” the builders, the thinkers and thy

neighbors who are going to be building the future new free world.
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Because Elon Musk wil! not be the Thomas Edison of my lifetime.
Free Nikola-Tesla Energy now, Mr. NASA!

And if the powers are be are holding back “Med Beds” until January 20", Heaven help

you. But i sure do hope, pray, wish and believe it will be before Hanukkah 2024 / 5785!

Because i want them as part of my “Restitution”, our “Reparations” and my

“Judgement”.

One word to James Farley Jr., “RESPECT”!

"The one who plants trees, knowing that they will never sit in their shade, has at least

started to understand the meaning of life".

All the campaign election money could have solved for world hunger, you all should be

ashamed of yourselves and your Rich War-Pig Races!

HONOR THE DECLARATION OF INDEPENDENCE!

Be thy neighbor and brother’s keeper!

This court is for Entertainment only just like the NFL, the basketball courts and all the
other bread and circuses to keep the villagers divided while the werewolves plot

MURDER~!

But iam Angela Lansbury, Jessica Fletcher.... RaNae Envy! Yay! My dream came true!

Listen to The Great Dictator Speech by Charlie Chaplin circa 1940.

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Read the Declaration of Independence!
And since 10 commandments are too hard for the majority how about 2.

1. Do No Harm
2. Do Not Trespass

3. Bonus: Right your wrongs. Wash your dirty hands.
The Greatest Mentors in the Orbit said i could do anything or be anything.

i would like to be a Lady! A woman clothed in respect and love. A leader and protector

of the past, present and future generations!

Because after all, JUSTICE IS A LADY! Not a man!

CONCLUSION

Treason is the reason for adjourned sine die.
Article 7.

This case is civil, this is all war crime- criminal!
Jurisprudence.

Sincerely and Truthfully,

na moe muyphoble «neo

ra nae-michelle :ulrich a living woman
